

People v Roberts (2021 NY Slip Op 06059)





People v Roberts


2021 NY Slip Op 06059


Decided on November 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 04, 2021

Before: Acosta, P.J., Kapnick, Kennedy, Mendez, JJ. 


Ind No. 1126/15 Appeal No. 14551 Case No. 2017-331, 2016-01835 

[*1]The People of The State of New York, Respondent, 
vRoger Roberts, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Lauren J. Springer of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Reva Grace Phillips of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Denis Boyle, J.), rendered February 16, 2016,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is
hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 4, 2021
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








